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INDEX NO. 609517/2018

RECEIVED NYSCEF: 07/18/2018

  

 

NYSCEF DOC. NO. 1

 

SUPREME COURT OF THE STATE OF NEW YORK Index No.:
COUNTY OF NASSAU Date Purchased:
Xx
DEIRDRE PRICE, SUMMONS
Plaintiff, Plaintiff designates Nassau
County as the place of trial.
-against-
The basis of venue is:
COUNTY OF NASSAU,

Defendant’s principal place

PORT WASHINGTON POLICE DEPARTMENT and of business

“JOHN DOE, #1-10",

Defendant’s principal place
of business at

X One West Street
Mineola, New York 11501

Defendants.

 

COUNTY OF NASSAU

To the above named Defendants:

You are hereby summoned to answer the complaint in this action, and to serve a copy
of your answer, or, if the complaint is not served with this summons, to serve a notice of appearance
on the Plaintiff's attorneys within twenty days after the service of this summons, exclusive of the day
of service, where service is made by delivery upon you personally within the state, or, within 30 days
after completion of service where service is made in any other manner. In case of your failure to

appear or answer, judgment will be taken against you by default for the relief demanded in the
complaint.

‘,

Dated: Garden City, New York : %
July_18 2018 NN

J OSEPH G. DELL

DELL & DEAN, PLLC
Attorneys for Plaintiff
DEIRDRE PRICE

1225 Franklin Avenue, Suite 450
Garden City, New York 11530
(516) 880-9700

File No.:3574

 

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NYSCEF DOC. NO.

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TO:

COUNTY OF NASSAU
COUNTY ATTORNEY
One West Street

Mineola, New York 11501

PORT WASHINGTON POLICE DEPARTMENT
500 Port Washington Boulevard
Port Washington, New York 11050

“JOHN DOE, #1-10"

c/o PORT WASHINGTON POLICE DEPARTMENT
500 Port Washington Boulevard

Port Washington, New York 11050

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RECEIVED NYSCEF: 07/18/2018

 

NYSCEF DOC. NO, 1

SUPREME COURT OF THE STATE OF NEW YORK
COUNTY OF NASSAU

 

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DEIRDRE PRICE, Index No.:

Plaintiff, VERIFIED

COMPLAINT
-against-

COUNTY OF NASSAU,
PORT WASHINGTON POLICE DEPARTMENT and
“JOHN DOE, #1-10",

Defendants.

 

Xx

Plaintiff, by her attorneys, DELL & DEAN, PLLC, complaining of the Defendants,
respectfully alleges, upon information and belief, as follows:

1. At all times herein mentioned, Plaintiff was, at the time of the incident, a resident of
the County of Nassau, State of New York.

2. That the cause of action alleged herein arose in the County of Nassau, State of New
York.

Bs That this action falls within one or more of the exemptions set forth in CPLR §1602.

4, That on or about July 24, 2017, and at all times herein mentioned, Defendants
COUNTY OF NASSAU and PORT WASHINGTON POLICE DEPARTMENT were, and still
are, municipal corporations duly organized and existing under and by virtue of the laws of the State
of New York.

Se That prior hereto on October 24, 2017, asworn Notice of Claim stating, among other

things, the time when and place where the injuries and damages were sustained, together with

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NYSCEF DOC. NO,

Plaintiff's demands for adjustment thereof was duly served on the claimant's behalf on the
Defendants and that thereafter said Defendants refused or neglected for more than thirty (30) days,
and up to the commencement of this action, to make any adjustment or payment thereof, and that
thereafter, and within the time provided by law, this action was commenced.

6. That pursuant to General Municipal Law 50(h), a hearing was conducted on May 23,
2018 by the Defendants.

7, That this action is being commenced within one year and ninety days after accrual of
this cause of action, or within the time allowed by. law.

8. That on or about July 24, 2017, and at all times mentioned herein, Defendants PORT
WASHINGTON POLICE DEPARTMENT and “JOHN DOE, #1-10" were acting as agents of
the COUNTY OF NASSAU.

9, That on or about July 24, 2017, through on or about February 9, 2018, Plaintiff,
DEIRDRE PRICE, was falsely arrested, and prosecuted, while at the Port Washington Police
Department to report a violation of the Order of Protection against the Plaintiff's daughter, and was
detained. After being falsely arrested, detained, injured and maliciously prosecuted, a charge was
reduced and any remaining charges were dropped on February 9, 2018.

11, Atall times hereinafter mentioned, Defendants, COUNTY OF NASSAU and PORT
WASHINGTON POLICE DEPARTMENT, were under the duty to supervise, train, educate,
control and employ their employees and agents in a reasonably prudent and careful manner and that
the Defendants had a duty to protect all persons, including the Plaintiff DEIRDRE PRICE herein
and the Defendants breached that duty by falsely arresting, detaining, prosecuting and failing to

release the Plaintiff; in falsely arresting and detaining Plaintiff, and in participating and assisting in

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1 RECEIVED NYSCEF: 07/18/2018
 

 

NYSCEF DOC. NO.

the negligent, reckless, careless and intentional, malicious, grossly negligent, willful wanton and
harmful and wrongful imprisonment of the Plaintiff DEIRDRE PRICE.

13. That the incidents and damages alleged in this action resulted from the negligence,
recklessness, carelessness and maliciousness of the Defendants, COUNTY OF NASSAU and
PORT WASHINGTON POLICE DEPARTMENT in the hiring, training, supervision, and
management of their employees, agents and servants.

14, That at all times hereinafter mentioned, Defendants, COUNTY OF NASSAU,
PORT WASHINGTON POLICE DEPARTMENT and “JOHN DOE, #1-10", while acting under
color of State Law, deprived Plaintiff DEIRDRE PRICE of her constitutional rights, privileges and
immunities and therefore, violated 42 U.S.C. §1983.

15, That the incidents and damages alleged in this action resulted from the negligence and
carelessness of the Defendants, COUNTY OF NASSAU and PORT WASHINGTON POLICE
DEPARTMENT, in the hiring, training, supervision, control and management of their agents,
servants, employees

16. That the aforementioned incident was wrongful, unjustifiable and unlawful and
without any fault on the part of the Plaintiff DEIRDRE PRICE.

17, That as a result of the foregoing, Plaintiff DEIRDRE PRICE was caused personal
injuries, trauma, mental anguish, embarrassment and shock and has been otherwise injured.

18. That the aforesaid occurrence, and the results thereof, were in no way caused by
any carelessness or negligence on the part of the Plaintiff DEIRDRE PRICE, but were due solely
and wholly to the joint, several and/or concurrent negligence of the Defendants, COUNTY OF

NASSAU, PORT WASHINGTON POLICE DEPARTMENT and “JOHN DOE, #1-10", their

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agents, servants, employees and/or licensees in wrongfully and unlawfully arresting and detaining

the Plaintiff; and in being otherwise careless, reckless and negligent.

19, That as a result of the foregoing, the Plaintiff DEIRDRE PRICE was caused to
sustain severe and permanent injuries, has suffered and will continue to suffer great pain, shock and

mental anguish, with a resultant loss thereby.

20. By reason of the foregoing, Plaintiff DEIRDRE PRICE has been damaged in an
amount which exceeds the jurisdictional limits of all lower courts which would otherwise have

jurisdiction herein.

WHEREFORE, Plaintiff prays for judgment against the Defendants on behalf of this
Cause of Action in an amount which exceeds the jurisdictional limits of all lower courts which
would otherwise have jurisdiction herein, together with the costs and disbursements of this action.

Dated: Garden_City, New York \ AY

July_% 2018 LIS

JOSEPH G. DELL

DEL} & DEAN, PLLC
Attornéys for Plaintiff
DEIRDRE PRICE

1225 Franklin Avenue, Suite 450
Garden City, New York 11530
(516) 880-9700

File No.:3574

 

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' NYSCEF DOC. NO, 1 RECEIVED NYSCEF: 07/18/2018

VERIFICATION
STATE OF NEW YORK _)
)ss.:
COUNTY OF NASSAU )
L “pe f a (Z p. Ce ' _ , being duly sworn, deposes and says;

I am the plaintiff in the within action;

I have read the following Comp (a; nt and believe the same is to

be true to my knowledge; the same is true to my knowledge except as to those matters therein

stated to be alleged on information and belief and as to those matters I believe them to be true.

   

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Public,/State of New Yo!
Notary Fo. oa ty
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cntmiecon Expires 8/29/2020

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NYSCEF DOC. NO, 1 , RECEIVED NYSCEF: 07/18/2018

  

 

SUPREME COURT OF THE STATE OF NEW YORK
COUNTY OF NASSAU

 

Xx
DEIRDRE PRICE, Index No:

Plaintiff,
-against-
COUNTY OF NASSAU,
PORT WASHINGTON POLICE DEPARTMENT and
“JOHN DOE, #1-10",

Defendants.

 

xX

 

SUMMONS & VERIFIED COMPLAINT

 

DELL & DEAN, PLLC
Attorneys for Plaintiff
1225 Franklin Avenue, Suite 450
Garden City, NY 11530
Telephone: (516) 880-9700

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Case 2:18-cv-04393-ST Document 1-1 Filed 08/02/18 Page 9 of 12 PagelD #: 12

SUPREME COURT OF THE STATE OF NEW YORK
COUNTY OF NASSAU

Deirdre Price

  
 

Plaintiff/Petitioner, h AGEL
-against- Index No. fal pro 4

County of Nassau, Port Washington Police Department,
John Doe # 1-10

   

NOTICE OF ELECTRONIC FILING

You have received this Notice because:

* The Plaintiff/Petitioner, whose name is listed above, has filed this case using the
New York State Courts e-filing system, and
* You are a Defendant/Respondent (a party) in this case.

(CPLR § 2111, Uniform Rule § 202.5-bb)

If you are represented by an attorney: give this Notice to your attorney. (Attorneys: see

“Information for Attorneys” pg. 2).

If you are not represented torney: you are not required to e-file. You may
serve and file documents in paper form and you must be served with documents in
paper form. However, as a party without an attorney, you may participate in e-
filing.

Benefits of E-Filing

You can:
* serve and file your documents electronically
* view your case file on-line
* limit your number of trips to the courthouse
* pay any court fees on-line.
There are no additional fees to e-file, view, or print your case records.
To sign up for e-filing or for more information about how e-filing works, you may:

* visit: www.nycourts.gov/efile-unrepresented or
* go to the Help Center or Clerk's Office at the court where the case was filed. To find
legal information to help you represent yourself visit www.nycourthelp.gov

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Case 2:18-cv-04393-ST Document 1-1 Filed 08/02/18 Page 10 of 12 PagelD #: 13

Information for Attorneys

An attorney representing a party who is served with this notice must either:

1) immediately record his or her representation within the e-filed matter on the NYSCEF
site https://iapps.courts.state.ny.us/nyscef/HomePage; or

2) file the Notice of Opt-Out form with the clerk of the court where this action is pending.
Exemptions from mandatory e-filing are limited to attorneys who certify in good faith that
they lack the computer hardware and/or scanner and/or internet connection or that they
lack (along with all employees subject to their direction) the operational knowledge to
comply with e-filing requirements. [Section 202.5-bb(e)]

For additional information about electronic filing and to create a NYSCEF account, visit the
NYSCEF website at www.nycourts.gov/efile or contact the NYSCEF Resource Center (phone:

646-386-3033; e-mail: efile@nycourts.gov).

Dated: 07/18/2014
JOSEPH GERARD DELL

 

 

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1225 Franklin Avenue, Suite 450,
Address

Garden City, NY 11530

(516) 880-9700
Phone

JDell@D2TrialLaw.com
E-Mail

11/20/17

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Case 2:18-cv-04393-ST Document 1-1 Filed 08/02/18 Page 11 of 12 PagelD #: 14

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Dated: 07/18/201
JOSEPH GERARD DELL

 

 

 

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Case 2:18-cv-04393-ST Document 1-1 Filed 08/02/18 Page 12 of 12 PagelD #: 15

Information for Attorneys

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Dated: 07/18/201

JOSEPH GERARD DELL 1225 Franklin Avenue, Suite 450,

 

 

Name

Dell 4 Van, & Lc Garden City, NY 11530

 

Firm Name

(516) 880-9700

 

JDell@D2Triallaw.com

 

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